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 8                            UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,                          Case No.: 14-CR-3647-BEN-2
11                             Plaintiff,
12                                                    ORDER GRANTING MOTION
            v.                                        TO DISMISS;
13                                                    JUDGMENT OF DISMISSAL;
                                                      EXONERATION OF BOND
14 RANDI SIERRA HAMILTON (2),

15

16                             Defendant.

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19          Upon motion of the United States of America and good cause appearing, the
20 Information in the above-entitled case is dismissed without prejudice as to Randi Sierra

21 Hamilton, Defendant No. 2. Bond is hereby exonerated.

22          IT IS SO ORDERED.
23 DATED: 1/28/15

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26                                              HONORABLE ROGER T. BENITEZ
                                                United States District Judge
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